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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 INVISTA NORTH AMERICA S.A.R.L.,               )
 and AURIGA POLYMERS INC.,                     )
                 Plaintiffs                    )
                                               )
        v.                                     )      Civil Action No. 11-1007-SLR-CJB
                                               )
 M&G USA CORPORATION and                       )
 M&G POLYMERS USA, LLC,                        )
                                               )
                       Defendants.             )

                                    MEMORANDUM ORDER

        Pending before the Court in this patent infringement action is Defendants M&G

 Corporation and M&G Polymers USA, LLC's (collectively, "M&G" or "Defendants") motion to

 compel the production of certain documents (the "motion to compel") that Plaintiffs INVISTA

 North America S.a.r.l. ("INVIST A") and Auriga Polymers Inc. ("Auriga") claim are privileged.

 (D.I. 170) For the reasons discussed below, the Court GRANTS-IN-PART M&G's motion.

 I.     BACKGROUND

        A.      Procedural History

        On October 21, 2011, INVISTA commenced this action, asserting that M&G infringes

 certain claims of U.S. Patent Nos. 7,943,216 (the "'216 Patent") and 7,879,930 (the "'930

 Patent"). (D.I. 1) On November 11, 2011, before M&G had answered, INVISTA amended its

 Complaint to add additional claims of infringement of the 7,919,159 Patent (the '"159 Patent").

 (D.I. 7 at~~ 1, 36-45) INVISTA alleged that M&G infringed the patents-in-suit by (1) "making,

 using, selling, offering to sell, and/or importing PET products, including without limitation their

 PoliProtect APB and PoliProtect JB resins, covered by [certain claims of the '216 and '159

 Patents]" and (2) by inducing their customers to infringe, or by contributing to their customers'
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 infringement of certain claims of the patents-in-suit. (!d. at 'lf'lf22, 27, 32-33, 38, 43)

         On January 10, 2012, the Court was referred this case by Judge Sue L. Robinson for the

 purposes of discovery and exploring alternative dispute resolution; the referral was later

 expanded to include authority to resolve dispositive and nondispositive motions up to claim

 construction. (D.I. 45) In April2012, Auriga was joined as a co-plaintiff. (D.I. 52)

         In addition to the instant action, INVISTA and M&G (as well as their respective

 corporate affiliates and related entities) are currently engaged in intellectual property litigation on

 various fronts around the world. One such action is an opposition proceeding filed by M&G in

 the European Patent Office ("EPO") concerning INVISTA's European Patent No. 1 663 630 (the

 "EP '630 Patent"). (See D.I. 153; D.I. 273 at 1-2) The EP '630 Patent is the European

 counterpart patent to the '159 and '216 Patents. (D.I. 215, ex. A at 'lf2)

         B.      The Claw-Back Provision of the Protective Order

         On June 11, 2012, the Court entered a Protective Order in this case that, inter alia, sets

 out a procedure to be followed in the event of inadvertent disclosure of allegedly privileged or

 work product-protected documents (the "claw-back provision"). (D.I. 63 at 'lf9) The claw-back

 provision provides that, upon discovery of unintentional disclosure of such documents, the

 producing party shall, within five business days, make a written request to the receiving party for

 the return of the documents and attach a corresponding privilege log. (!d.) Within five business

 days of receipt of such a request, the receiving party ( 1) must return or destroy the identified

 documents and (2) if it disagrees with the claim of privilege or immunity, may file a motion to

 compel production of the documents (and may retain the documents only for purposes of

 litigating that motion). (Id.)


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        C.      Inadvertent Disclosure of the Documents at Issue

        During the course of discovery, M&G served Requests for Production of Documents on

 both INVISTA and Auriga. (D.I. 171, ex. A-1 & A-2) In response, Plaintiffs produced over a

 million pages of discovery to M&G. (D .I. 191 at 1) In August 2012, following a production of

 documents by Auriga, Plaintiffs determined that certain of those documents were purportedly

 protected by the attorney-client privilege or work product doctrine. (Id. at 3) On August 15,

 August 21, and September 21, 2012, Plaintiffs notified M&G that certain documents had been

 unintentionally produced, requested that M&G comply with the claw-back provision of the

 Protective Order by destroying those documents, and served privilege logs identifying the

 inadvertently produced documents. (D.I. 192 at ex. A-C) M&G did not respond to either of the

 August communications; in response to the September 21 communication, M&G objected to

 Plaintiffs' claims of privilege and immunity regarding the 70 documents identified by Plaintiffs.

 (D.I. 191 at 3-4)

        In December 2012, after M&G used one of the documents that had been clawed back in

 August 2012 in connection with the EPO proceeding, Plaintiffs requested confirmation that

 M&G had destroyed the clawed back documents. (D.I. 192, ex. D) M&G replied that it was

 challenging Plaintiffs' claims of privilege regarding those documents, and that it had not

 destroyed the documents; instead, it stated that it had sequestered the documents in accordance

 with Federal Rule of Civil Procedure 25(b)(S)(B), asserting that it believed that it was permitted

 to do so, despite the wording of the Protective Order's claw-back provision. (!d.)

        In a later effort to reduce the number of disputed documents at issue, Plaintiffs withdrew

 claims of privilege on over 50 documents implicated by their prior claw-back requests, and


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 served revised privilege logs on December 21,2012. (D.I. 191 at 5; D.I. 192, exs. F, G & H)

 The parties failed to reach agreement as to the remainder of the clawed-back documents, and on

 January 9, 2013, the Court held a teleconference with the parties. The Court determined that the

 claw-back provision of the Protective Order superceded Rule 25(b)(5)(B). (D.I. 349 (hereinafter,

 "Tr.") at 65-73) Accordingly, the Court ordered M&G to comply with the claw-back provision

 by returning or destroying the documents at issue, or, alternatively, by moving to compel

 production of the documents in dispute, within five business days. 1 (Tr. at 72-7 5) M&G chose

 the latter course, filing the instant motion in regard to 81 documents on January 16,2013. (D.I.

 170) M&G's motion was fully briefed as of February 14, 2013. (D.l. 204)

 II.    STANDARD OF REVIEW

        Federal Rule of Civil Procedure 37 applies to motions to compel discovery, providing

 that "[ o]n notice to other parties and all affected persons, a party may move for an order

 compelling ... discovery." Fed. R. Civ. P. 37(a)(l). Under Federal Rule of Civil Procedure

 26(b)( 1), "[p ]arties may obtain discovery regarding any nonprivileged matter that is relevant to

 any party's claim or defense." While it is well-settled that the Federal Rules permit broad

 discovery, a party's right to discovery is not without limits. Bayer AG v. Betachem, Inc., 173

 F.3d 188, 191 (3d Cir. 1999). One such limit is that courts may not order the production of


                 INVISTA has preserved its right to file an objection to the Court's January 9,
 2013 order, having indicated objection to the portion of the order that permitted M&G to file a
 motion to compel production ofthe documents clawed back in August 2012. (D.l. 172; Tr. at
 72-75) INVISTA had argued that because M&G did not timely object to INVISTA's claim of
 privilege as to those documents, M&G forfeited its right to do so. (Tr. at 72-75) The Court
 disagreed, instead finding that-in light ofM&G's claim that its failure to timely object was
 based on a good-faith understanding of the meaning of the claw-back provision (one that differed
 from Plaintiffs' understanding)-M&G should have five days to file its motion to compel after
 the conclusion of the January 9, 2013 teleconference. (ld.)

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 discovery that is protected by an evidentiary privilege. See, e.g., Pearson v. Miller, 211 F .3d 57,

 65 (3d Cir. 2000).

        Once an objection is raised as to relevancy, a party moving to compel discovery bears the

 burden of demonstrating the relevance of the requested information. Inventio A G v.

 ThyssenKrupp Elevator Am. Corp., 662 F. Supp. 2d 375,381 (D. Del. 2009); Standard Chlorine

 of Delaware, Inc. v. Sinibaldi, 821 F. Supp. 232,258 (D. Del. 1992). However, when documents

 otherwise relevant are sought to be protected from disclosure due to the asserted existence of an

 evidentiary privilege, the party seeking such protection bears the burden of establishing the

 privilege. In re Grand Jury, 705 F.3d 133, 160 (3d Cir. 2012); Leader Techs., Inc. v. Facebook,

 Inc., 719 F. Supp. 2d 373, 377 (D. Del. 2010); Kimberly-Clark Worldwide, Inc. v. First Quality

 Baby Prods., LLC, No. 1:CV-09-1685, 2010 WL 4537002, at *1 (M.D. Pa. Nov. 3, 2010). That

 party also has the burden of establishing that the privilege has not been waived. S.E. C. v. NIR

 Grp., LLC, 283 F.R.D. 127, 132 (E.D.N.Y. 2012); Kimberly-Clark Worldwide, 2010 WL

 4537002, at *1.

 III.   DISCUSSION

        M&G now moves the Court to compel disclosure of seven of the 35 documents identified

 on Auriga's privilege log and 68 ofthe 103 documents identified on INVISTA's privilege log.

 (D.I. 171 at 2) 2 With the exception of one document, all of those listed on INVISTA's log are

 actually Auriga documents, produced by Auriga, and bate-stamped "AURIGA". (D.I. 192, ex.

 H)


        2
                M&G originally challenged 74 documents identified on INVISTA's privilege log,
 but has since withdrawn its claims for six of those documents (i.e., PL025, PL026, PL027,
 PL048, PL087, and PL088). (D.I. 204 at 9, 11)

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        In support of its motion, M&G asserts two primary arguments. First, M&G argues that

 INVISTA does not have standing to assert privilege over Auriga documents. (D.I. 171 at 2-4;

 D.I. 204 at 2-5) In response, INVISTA contends that it shares a common legal interest with

 Auriga, and pursuant to the common interest doctrine, it has standing to assert privilege over all

 such documents. (D.I. 191 at 10) Second, as to the remaining documents (i.e., the documents on

 Auriga's privilege log and the sole INVISTA document on INVISTA's log), M&G argues that

 Plaintiffs have failed to satisfy their burden of proving that the documents are privileged because

 their privilege logs fail to identify attorney participation regarding the entries at issue. (D.I. 171

 at 5-8) Plaintiffs respond that a communication may still be privileged even if not addressed to

 an attorney; they explain that the pertinent communications involved Dr. Geoffrey Scantlebury, a

 former INVISTA employee, who is currently employed by Auriga and qualifies as a privileged

 person based on his role as a technical liaison to attorneys. 3 (D.I. 191 at 1-2, 7-9)

         After first setting out the law as to the relevant privileges and doctrines, the Court will

 next address certain legal issues that apply broadly to a number of documents. Lastly, it will then

 address the specific documents at issue.

         A.      Relevant Privileges and Doctrines at Issue

                 1.     The Attorney-Client Privilege

        The attorney-client privilege bestows upon the client the "right to refuse to disclose

 confidential communications between attorney and client made for the purpose of obtaining legal

 advice." Hoffmann-La Roche, Inc. v. Roxane Labs., Inc., No. 09-6335 (WJM), 2011 WL


                 Plaintiffs rely on Declarations by Dr. Scantlebury in support of the majority of
 their claims asserting the applicability of the attorney-client privilege, the common interest
 doctrine, and the work product doctrine. (D.I. 192, exs. L & N)

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 1792791, at *4 (D.N.J. May 11, 2011) (internal quotations marks and citation omitted). In

 protecting these communications, the privilege "encourage[s] full and frank" information

 exchanges within the attorney-client relationship, in order to promote the observation of law and

 the administration of justice. Upjohn Co. v. United States, 449 U.S. 383, 389 (1981);

 Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414, 1423 (3d Cir. 1991); Union

 Carbide Corp. v. Dow Chern. Co., 619 F. Supp. 1036, 1046 (D. Del. 1985). Importantly, while

 the privilege protects communications between privileged persons, it does not protect the facts

 underlying those communications. Brigham and Women's Hosp. Inc. v. Teva Pharms. USA, Inc.,

 707 F. Supp. 2d 463, 469 (D. Del. 2010) (citing Upjohn, 449 U.S. at 395). The privilege is

 premised upon recognition by the courts that "the need to permit the attorney to provide sound

 legal advice generally outweighs any disadvantage of withholding evidence in a particular case."

 Union Carbide, 619 F. Supp. at 1046; accord Westinghouse, 951 F.2d at 1423. Because the

 privilege militates against the general rule promoting full disclosure of information between

 parties to a lawsuit, however, courts must construe it narrowly. Westinghouse, 951 F.2d at 1423;

 Union Carbide, 619 F. Supp. at 1046.

        The United States Court of Appeals for the Third Circuit has held that for the attorney-

 client privilege to protect a communication, "it must be (1) a communication (2) made between

 privileged persons (3) in confidence (4) for the purpose of obtaining or providing legal assistance

 for the client." In re Chevron Corp., 650 F.3d 276, 289 (3d Cir. 2011) (internal quotation marks

 and citations omitted)). 4 "'Privileged persons' include the client, the attorney(s), and any of their


        4
                 This patent infringement action arises under federal law, with the Court's
 jurisdiction based on 28 U.S.C. § 1331 and 28 U.S.C. § 1338. (D.I. 7 at~ 5) Accordingly,
 federal common law applies here to questions of privilege. Fed. R. Evid. 501; see also Pearson,

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 agents that help facilitate attorney-client communications or the legal representation." In re

 Teleglobe Commc 'ns Corp., 493 F.3d 345, 359 (3d Cir. 2007) (citation omitted). The privilege

 must be asserted on a document-by-document basis, rather than as a single, blanket assertion.

 United States v. Rockwell Int'l, 897 F.2d 1255, 1265 (3d Cir. 1990).

        In line with the narrow construction that it receives, "[t]he privilege protects only those

 disclosures-necessary to obtain informed legal advice-which might not have been made

 absent the privilege." Westinghouse, 951 F.2d at 1423-24 (internal quotation marks and citation

 omitted). Generally, a party's voluntary disclosure to a third party of information purportedly

 protected by the attorney-client privilege destroys the information's confidentiality, thus

 obviating the privilege. Id. at 1424.

                2.      Work Product Doctrine

        The work product doctrine is a privilege that is distinct from, and broader than, the

 attorney-client privilege. United States v. Nobles, 422 U.S. 225, 238 n.11 (1975). The doctrine

 protects papers "prepared by or on behalf of attorneys in anticipation of litigation."



 211 F.3d at 66. In patent cases, regional circuit law governs disputes relating to the applicability
 of the attorney-client privilege and related privileges/doctrines, to the extent that those issues are
 not unique to patent law. See, e.g., In re Coogle Inc., 462 F. App'x 975, 977 (Fed. Cir. 2012); In
 re Regents ofthe Univ. ofCalifornia, 101 F.3d 1386, 1390 (Fed. Cir. 1996) (analyzing
 application of common interest doctrine in patent case pursuant to the law of the regional
 circuit); MPT, Inc. v. Marathon Labels, Inc., No. 1:04 CV 2357,2006 WL 314435, at *2 (N.D.
 Ohio Feb. 9, 2006) (same). However, when a determination of the applicability of such a
 privilege implicates a substantive patent law issue, the law of the United States Court of Appeals
 for the Federal Circuit applies. In re Spalding Sports Worldwide, Inc., 203 F.3d 800, 803-04
 (Fed. Cir. 2000); Shire Dev. Inc. v. Cadila Healthcare Ltd., C.A. No. 10-581-K.AJ, 2012 WL
 5247315, at *3 (D. Del. June 15, 2012). The parties do not suggest that resolution of the issues
 at hand tum on whether Third Circuit or Federal Circuit law applies. To the extent that the Court
 relies explicitly on Federal Circuit law below, it will indicate why that particular issue is one
 unique to patent law.

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 Westinghouse, 951 F.2d at 1428; accord WebXchange Inc. v. Dell Inc., 264 F.R.D. 123, 128 (D.

 Del. 2010) (citation omitted); Fed. R. Civ. P. 26(b)(3) (defining work product as "documents and

 tangible things that are prepared in anticipation oflitigation or for trial by or for another party or

 its representative (including the other party's attorney, consultant, surety, indemnitor, insurer, or

 agent)"). The policy underlying the doctrine is that if attorneys can prepare their cases without

 fear that their work product will be used against their clients, this will promote the adversary

 system. Westinghouse, 951 F.2d at 1428.

         Attorney work product is not discoverable absent a showing of substantial need, undue

 hardship, or inability to obtain their equivalent by other means. Fed. R. Civ. P. 26(b)(3);

 WebXchange Inc., 264 F.R.D. at 128. Even where such a showing is made, Rule 26(b)(3)

 requires courts to protect from disclosure "the mental impressions, conclusions, opinions, or

 legal theories of a party's attorney or other representative concerning the litigation." The party

 asserting the work product doctrine bears the burden of demonstrating that the documents at

 issue were prepared by or for counsel in preparation for trial or in anticipation of litigation.

 WebXchange Inc., 264 F.R.D. at 128.

        Like the attorney-client privilege, work product protection can be waived. Magnetar

 Techs. Corp. v. Six Flags Theme Park Inc., 886 F. Supp. 2d 466,478 (D. Del. 2012). However,

 "[b]ecause the work product doctrine serves to protect an attorney's work product from the

 adversary, a disclosure to a third-party does not necessarily waive the protection of [the] work

 product, as it does with attorney-client privilege." Id. Rather, to waive the work product

 doctrine, "the disclosure must enable an adversary to gain access to the information." Id. (citing

 Westinghouse, 951 F. 2d at 1428).


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                 3.     The Common Interest Doctrine

         The common interest doctrine is an exception to the general rule that voluntary disclosure

  to a third party of purportedly privileged information waives the privilege. Leader Techs., 719 F.

  Supp. 2d at 376; Union Carbide, 619 F. Supp. at 1047. The doctrine has its roots in the joint-

  defense privilege, but has since been expanded to "protect[] all communications shared within a

 proper 'community of interest,' whether the context be criminal or civil." Teleglobe, 493 F.3d at

  364 (internal citations omitted). Permitting disclosure of such communications to parties sharing

  a common legal interest is "consistent with the goal underlying the [attorney-client] privilege

 because [this] type of disclosure is sometimes necessary for the client to obtain informed legal

  advice." Westinghouse, 951 F.2d at 1424.

         To prove that the common interest doctrine protects the documents at issue from

  discovery, the party asserting the doctrine bears the burden of showing that an underlying

 privilege has been established, and that (1) the communications at issue are made by separate

 parties in the course of a matter of common legal interest; (2) the communications are designed

 to further that common legal interest; and (3) the privilege has not been waived. MobileMedia

 Ideas LLC v. Apple Inc., 890 F. Supp. 2d 508, 515 (D. Del. 2012); In re Leslie Controls, Inc.,

 437 B.R. 493,496 (Bankr. D. Del. 2010); see also Nidec Corp. v. Victor Co. ofJapan, 249

 F.R.D. 575, 578 (N.D. Cal. 2007). In order for waiver to occur, all members of the common

 interest community must consent to the waiver. Robert Bosch LLC v. Pylon Mfg. Corp., 263

  F.R.D. 142, 146 (D. Del. 2009); In re Imperial Corp. ofAm., 179 F.R.D. 286,289 (S.D. Cal.

  1998); Killebrew v. City of Greenwood, Miss., No. 4:95CV355-B-B, 1997 WL 208140, at *2

  (N.D. Miss. Apr. 11, 1997).


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        While there is a split in authority regarding whether the common interest doctrine protects

 communications among non-attorneys, the Court has concluded that, in certain circumstances, it

 can. Invidi Techs. Corp. v. Visible World, Inc., Civil Action No. 11-397-RGA-CJB, D.l. 188,

 slip op. at 29-31 (D. Del. Mar. 11, 2013). Specifically, the Court has found that in order to

 invoke the common interest doctrine as to a communication between non-attorneys, a party must

 establish that the communication reflects one of three circumstances: '"(1) one party is seeking

 confidential information from the other on behalf of an attorney; (2) one party is relaying

 confidential information to the other on behalf of an attorney; and (3) the parties are

 communicating work product that is related to [] litigation.'" I d. at slip op. at 31 (quoting IBJ

  Whitehall Bank & Trust Co. v. Cory & Assoc., No. Civ. A. 97 C 5827, 1999 WL 617842, at *6

 (N.D. Ill. Aug. 12, 1999)).

        B.      INVISTA's Standing to Assert Privilege Over Auriga Documents

         M&G argues that INVISTA does not have standing to assert privilege over any of the

 Auriga documents identified on INVISTA's privilege log. (D.I. 171 at 2-4; D.I. 204 at 1) Some

 of the challenged Auriga documents on INVISTA's log were created prior to the sale of certain

 assets by INVISTA to Auriga, and were transferred to Auriga pursuant to the sale (hereinafter,

 the "pre-sale documents"). (D.I. 171 at 2-4; D.I. 204 at 12) M&G contends that INVISTA

 transferred any privileges that it had in the pre-sale documents to Auriga, or, in the alternative,

 INVISTA waived any privileges that it had in the documents by sending them to Auriga, a third-

 party. (D.I. 171 at 2-4; D.l. 204 at 3-5)

        The remaining Auriga documents on INVISTA's privilege log were created after the sale

 of assets. (D.I. 171 at 4) M&G asserts that to the extent these documents are privileged, the


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 privilege belongs to Auriga to assert, not INVISTA, and Auriga has affirmatively withdrawn its

 claim of privilege over these documents. (Id.)

        In response to M&G's standing arguments, Plaintiffs assert that a common interest has

 existed among Plaintiffs during the relevant time periods, and that therefore INVISTA has

 standing to assert privilege over the Auriga documents identified on its log pursuant to the

 common interest doctrine. (D.I. 191 at 10) Plaintiffs argue that these documents are protected

 by either the attorney-client privilege or work product doctrine. (Id. at 13)

                1.      Sale of Assets by INVIST A to Auriga

        In order to analyze the standing issue, the Court must first consider the relationship

 between Plaintiffs and the facts pertaining to the sale of certain assets by INVISTA to Auriga.

 On November 11, 2010, pursuant to a Purchase and Sale Agreement ("PSA"), Auriga purchased

 certain assets from INVISTA, including a manufacturing facility in Spartanburg, South Carolina,

 all tangible property therein, and an exclusive license to an intellectual property portfolio.




                                                    Accordingly, once the PSA closed, on March 1,

 2011, many INVISTA employees became Auriga employees, including Dr. Scantlebury. (D.I.

 191 at 6)

         INVISTA's transfer to Auriga of an exclusive license to certain intellectual property is

 governed by an Intellectual Property License Agreement ("IPLA"). (Id.; D.I. 192, ex. J)




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         The IPLA addresses INVISTA's and Auriga's rights and obligations in the event of

 infringement of the licensed rights. (D.I. 192, ex. J at ,-r 3.2)




                                                Finally, the transfer agreements set out INVISTA's

 and Auriga's privilege-related rights and obligations.




         On April25, 2012, shortly before Auriga was joined in the instant action as a co-Plaintiff,

 INVISTA and Auriga entered into a "Common Interest Agreement." (D.I. 192, ex. K)




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 (Id.)

                2.      Whether INVIST A Transferred All Privileges in the Pre-Sale
                        Documents to Auriga, Such that INVIST A Cannot Assert that the
                        Common Interest Doctrine Protects the Documents From Disclosure

         With respect to the pre-sale documents, M&G argues that INVISTA "transferred" any

 right it had to assert the protections of, inter alia, the common interest doctrine, pointing

 exclusively to the language of Section 5.13(d) of the PSA. (D.I. 171 at 2-3) M&G argues that

 INVISTA lacks standing to assert this doctrine,




         In reviewing the text of the PSA, the Court cannot agree with M&G' s position that

                                      INVISTA transferred its ability to assert that the common

 interest doctrine protects the documents from disclosure. (D.I. 204 at 4)




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         This language, on its own and in context with the other portions of Section 5.13( d), does

 not "clearly" indicate to the Court that INVISTA meant to transfer or give up its right, in a

 circumstance such as this, to invoke the common interest doctrine as to documents transferred

 pursuant to the asset sale.




                                                         Indeed, it is telling that in their joint

 answering brief, both Plaintiffs take the position that Section 5.13(d)'s language does not

 prohibit INVISTA from asserting the common interest doctrine here.

         Thus, the Court cannot find that pursuant to Section 5 .13(d), INVISTA clearly transferred

 (or otherwise waived) its right to assert the common interest doctrine in this case. As a result,

 although Auriga does not assert the doctrine's applicability here, INVISTA may still do so

 (assuming the doctrine in fact applies to certain communications), since where the elements of

 the common interest doctrine are satisfied, either party involved in the communications can

 assert the doctrine to protect those communications from disclosure. See, e.g., Dexia Credit

 Local v. Rogan, 231 F.R.D. 268, 273 (N.D. Ill. 2005) (stating that where the common interest

 doctrine applies to documents, those documents "will of course be privileged in the controversy

 of either or both of the clients with the outside world") (internal quotation marks and citations

 omitted).




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                3.      Whether INVIST A Otherwise Waived Applicable Privileges in the
                        Documents at Issue, and Whether the Common Interest Doctrine Can
                        Apply to Such Documents

        The Court must next confront M&G's argument that INVISTA "waived the [attorney-

 client privilege] related to the transferred documents" when it sent the pre-sale documents to

 Auriga pursuant to the asset sale. 5 (D.I. 171 at 3) Generally, disclosure of privileged information

 to a third-party waives the privilege. Westinghouse, 951 F.2d at 1424. However, as noted above,

 Plaintiffs argue that they had and have a common legal interest in enforcing the patents-in-suit

 against infringers and in upholding the validity and enforceability of those patents. They thus

 assert that the pre-sale documents retained the protection of the attorney-client privilege pursuant

 to the common interest doctrine, despite their transfer. (D.I. 191 at 7, 10-13)

        Plaintiffs also assert that the other post-sale documents at issue involve communications

 between INVISTA and Auriga, made to further the parties' common interest. (Id.) As a result,

 they argue that INVISTA may also invoke the common interest doctrine to protect these

 documents from disclosure under the law. (Id.) 6

        For the reasons set out below, the Court finds that Plaintiffs indeed share a common legal

 interest in maintaining strong and enforceable patents-in-suit-an interest that began from at


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                  INVISTA asserted that the Court need not consider waiver because M&G
 "neither argued nor asserted that there has been any waiver of the asserted attorney-client
 privilege ... as to the documents." (D.I. 191 at 9 n.9) In fact, however, M&G did argue waiver.
 (See D.l. 171 at 3; D.I. 204 at 5 n.1)
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                 It is unclear why both parties suggest that Delaware law applies to the common
 interest doctrine analysis. (See D.I. 191 at 7 ("[U]nder Delaware law, INVISTA and Auriga had
 a common interest in enforcing and upholding the validity of the patents in suit .... "); D.I. 204
 at 2 ("[U]nder Delaware law, this is insufficient to establish a common interest exception.")) As
 explained above, supra note 4, in this case, federal common law applies to the asserted
 privileges.

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 least the time that the parties entered into the asset sale agreement and that continues through to

 the present day.

         The leading modern case describing the common interest doctrine, Duplan Corp. v.

 Deering Milliken, Inc., 397 F. Supp. 1146 (D.S.C. 1974), explained that the "key consideration is

 that the nature of the interest be identical, not similar, and be legal, not solely commercial." Id.

 at 1172 (emphasis added). A number of cases from this District have recited the Duplan

 standard, including the requirement that the shared legal interest be identical, in analyzing the

 common interest doctrine. See, e.g., Invidi, slip op. at 13 & n.l 0 (citing cases); Leader Techs.,

 719 F. Supp. 2d at 376; Corning Inc. v. SRU Biosys., LLC, 223 F.R.D. 189, 190 (D. Del. 2004);

 Constar Int'l, Inc. v. Cant'! Pet Techs., Inc., No. Civ. A. 99-234-JJF, 2003 WL 22769044, at *1

 (D. Del. Nov. 19, 2003); Union Carbide, 619 F. Supp. at 1047. 7

         The legal-not solely commercial-nature of the parties' interests is another key to the

 doctrine's applicability. Duplan, 397 F. Supp. at 1172. Notably, the parties' interests do not

 have to be solely legal in nature. Rather, as this Court has noted, "the privilege may apply


         7
                  Courts are not uniform in their characterization of just how similar the legal
 interests ofthe parties must be in order for the common interest doctrine to apply. Teleglobe,
 493 F.3d at 365 (noting that the Restatement (Third) of the Law Governing Lawyers took a
 "more flexible approach than Duplan", emphasizing that the respective parties' interests "need
 not be entirely congruent", and for purposes of the opinion, noting only that "members of the
 community of interest must share at least a substantially similar legal interest") (internal
 quotation marks omitted). Some cases from this District have cited this "at least a substantially
 similar legal interest" language in articulating what must be established for the doctrine to apply.
 See, e.g., MobileMedia, 890 F. Supp. 2d at 515; Robert Bosch LLC, 263 F.R.D. at 146; see also,
 e.g., CIF Licensing, LLC v. Agere Sys. LLC, No. 07-170-LPS, 2012 WL 6085368, at *8 (D. Del.
 Dec. 3, 2012) (recognizing that some cases from this District cite to the strict Duplan standard
 while others utilize the "at least a substantially similar legal interest" language in Teleglobe).
 The Court will assume that the Duplan standard applies here and need not affirmatively decide
 the issue, as its decision below is not affected by whether an "identical" legal interest or "at least
 substantially similar" legal interest is required for application of the common interest doctrine.

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 although the communications include discussions of various business matters as long as they are

 infused with legal concerns." MobileMedia, 890 F. Supp. 2d at 515 (internal quotation marks

 and citation omitted). The parties do not have to be involved in "[a]ctuallitigation" or an

 "ongoing lawsuit" for their interests to be legal; "anticipated" litigation is sufficient. Id.

         Contrary to M&G's argument that the license agreement between Plaintiffs is

 "insufficient" to warrant the protection of the common interest doctrine in any respect, (D.I. 204

 at 2), courts have indeed found that licensors and exclusive licensees of patents share a common,

 identical legal interest sufficient to invoke the doctrine. See In re Regents of Univ. of California,

 101 F.3d 1386, 1390 (Fed. Cir. 1996) (concluding that the common interest doctrine applied to

 protect certain documents from disclosure where the "legal interest between Lilly and UC was

 substantially identical because of the potentially and ultimately exclusive nature of the Lilly-UC

 license agreement" and therefore "[b ]oth parties had the same interest in obtaining strong and

 enforceable patents"); Smithkline Beecham Corp. v. Apotex Corp., 193 F.R.D. 530, 539 (N.D. TIL

 2000) (finding a sufficient common legal interest between parties where they had entered into an

 exclusive licensing agreement that gave licensor primary responsibility for legal defense of the

 licensed patents, and licensee responsibility to provide reasonable assistance, "which makes their

 interests essentially identical"). Relatedly, courts examining whether two parties share a

 common legal interest in certain patents consider whether both parties would be affected in the

 same way by litigation regarding the patents. See, e.g., Research Inst. forMed. and Chemistry,

 Inc. v. Wisconsin Alumni Research Found., 114 F.R.D. 672, 677-78 (W.D. Wis. 1987) (rejecting

 applicability of common interest doctrine where the relevant agreement granted "only a non-

 exclusive license" to licensees that "[u]like an exclusive licensee [did not obtain] monopoly


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 power to exclude competition within the stipulated area" and thus had an interest "quite

 different" from patent owner; court also noted that none of the licensees were themselves party to

 any suit or other proceeding regarding the validity of any relevant patents, "nor were they

 otherwise related so as to show an identical legal interest in the outcome of any litigation").

        Here, the license agreement between INVISTA and Auriga granted Auriga a bundle of

 rights in the patents-in-suit, but retained substantial rights for INVISTA, including ownership of

 the patents and the right to commence patent litigation. (D.I. 192, ex. J) From at least the date

 the parties entered into the PSA and ILP A, they held what can be described as identical interests

 in ensuring that the patents-in-suit were "strong and enforceable[,]" In re Regents, 101 F.3d at

 1390, as any threat to the patents' validity or enforceability in that time would cause the potential

 for the same kind oflegal harm to INVISTA (as the patents' owner) and Auriga (as the patents's

 exclusive licensee). In addition, for parties to share a common legal interest, "anticipated

 litigation" is sufficient. MobileMedia, 890 F. Supp. 2d at 515. Clearly, INVISTA and Auriga

 anticipated future litigation regarding the patents from the time of the execution of the PSA and

 ILP A, as demonstrated by the fact that an entire section of the ILP A is devoted to the parties'

 rights and obligations in the event of "Infringement of Licensed Rights." (D.I. 192, ex. J at~ 3.2)

 While INVISTA maintains the right to "commence, prosecute, and fully control" infringement

 actions, the IPLA obligates Auriga to cooperate with INVISTA in any such actions, including, if

 necessary, joining the action as a party plaintiff (as it has done here). (Id.) Therefore, as these

 documents reflect, from at least the beginning of the parties' contractual relationship, INVISTA

 and Auriga shared a common legal interest in maintaining valid and strong patents-in-suit.

        The nature of that common legal interest becomes even clearer to see when examining the


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 parties' roles as co-Plaintiffs in the instant lawsuit. Indeed, as Plaintiffs point out, (D.I. 191 at

 11 ), M&G itself has recognized Auriga as a necessary party to this action based on its status as

 the holder of an exclusive license in the patents-in-suit, (D.I. 192, ex. P at~ 7). It can be

 anticipated that co-plaintiffs (or co-defendants) in a lawsuit involving the same patents will share

 information, and this, of course, is at the heart of the common interest doctrine; it allows

 "[c]ommunications between clients and attorneys allied in a common legal cause [to] remain

 protected because it is reasonable to expect that parties pursuing common legal interests intended

 resultant disclosures to be insulated from exposure beyond the confines of the group." Leader

 Techs., 719 F. Supp. 2d at 376 (internal quotation marks and citation omitted); see also Union

 Carbide, 619 F. Supp. at 1047 (in describing the common interest doctrine, stating that "[t]hird

 party communications ... retain a protective shield if the parties have a common legal interest,

 such as where they are co-defendants or are involved in or anticipate joint litigation") (citation

 omitted).

         Accordingly, the Court finds that Plaintiffs have demonstrated that a common legal

 interest in maintaining strong and enforceable patents-in-suit existed between them at all relevant

 times regarding the documents at issue. If Plaintiffs meet their burden to prove the doctrine's

 applicability to these documents, INVISTA may assert the doctrine to protect against disclosure

 toM&G.

         C.      Dr. Scantlebury's Role and Relationship with the Parties

         Many of the documents at issue in some way involve Dr. Scantlebury, a non-attorney who

 currently works for Auriga and does consulting work for INVISTA. Plaintiffs argue that Dr.

 Scantlebury qualifies as a "privileged person" and therefore communications involving him can


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 be protected. (D.I. 191 at 14-15)

        Prior to the sale of assets by INVISTA to Auriga, Dr. Scantlebury worked, under the

 direction of attorneys, for INVISTA and its predecessors as a "liaison between the legal and

 research and development groups." (D.I. 191 at 8; accord D.I. 192, ex. L at~~ 3-6) In this

 position, Dr. Scantlebury interfaced between inventors and attorneys and provided technical

 guidance to attorneys. (Jd.) When the PSA closed, on March 1, 2011, Dr. Scantlebury began

 employment with Auriga, where he continues to work today as the Director of Technology

 Management and Intellectual Property Manager. (D.I. 192, ex. L at~ 1) At Auriga, a company

 that does not presently employ in-house attorneys, Dr. Scantlebury acts as the liaison between

 Auriga and outside counsel regarding intellectual property legal issues. (Id.)

        As noted above, Dr. Scantlebury has maintained a relationship with INVIS T A, acting as a

 consultant for the company in light of his experience with the preparation and prosecution of the

 patents-in-suit and their European counterpart patents. (D.I. 191 at 9; D.I. 192, ex. 0) Dr.

 Scantlebury's consulting work for INVISTA entails "providing information, data, advice and

 other support relating to" European patent opposition proceedings, patent nullification matters,

 patent prosecution matters, and marketing and branding. (D.I. 192, ex. 0 at~ 1) Dr. Scantlebury

 describes his role as a consultant as similar "to that of a non-attorney expert who is retained by a

 party to provide technical advice and to conduct testing for attorneys in patent litigation and

 prosecution matters." (Jd., ex. L at~ 2) Pursuant to his consulting duties, Dr. Scantlebury has

 conducted testing and analysis for the EPO proceeding regarding INVISTA's EP '630 Patent and

 has provided assistance to INVISTA attorneys prosecuting U.S. patent applications. (D.I. 191 at

 9)


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        The Court finds M&G's key argument regarding many of the challenged

 documents-that they cannot be privileged because they did not directly involve an attorney-to

 be incomplete. 8 (See, e.g., D.l. 171 at 6 ("Auriga has not established that any of these documents

 are communications between it and legal counsel. ... [N]o attorneys are listed in these entries as

 being anyway involved with the documents.")) It is well-settled that "a document does not even

 need to be addressed to or from an attorney to be privileged-privileged communications may be

 shared by non-attorney employees 'in order to relay information requested by attorneys,' and so

 that the corporation is 'properly informed oflegal advice and [may] act appropriately."' Shire

 Dev. Inc. v. Cadila Healthcare Ltd., C.A. No. 10-581-KAJ, 2012 WL 5247315, at *3 (D. Del.

 June 15, 2012) (quoting SmithKline Beecham Corp. v. Apotex Corp., 232 F.R.D. 467, 477 (E.D.

 Pa. 2005)); see also Teleglobe, 493 F.3d at 359 (defining "privileged persons" as including

 agents of the client or attorney "that help facilitate attorney-client communications or the legal

 representation"); High Point SARL v. Sprint Nextel Corp., Civil Action No. 09-2269-CM-DJW,

 2012 WL 234024, at *14 (D. Kan. Jan. 25, 2012) ("Avaya is not prohibited from claiming

 attorney-client privilege for documents that were authored or created by non-attorney employees

 or consultants of Avaya's IP Law Group.").



                  In its opening brief, M&G also argued that most of the post-sale documents at
 issue were "created by Auriga, on Auriga systems, and for Auriga's business" and that INVISTA
 could not assert privilege as to documents "created by an entirely separate and unrelated
 company." (D.I. 171 at 4) Plaintiffs responded by noting that Dr. Scantlebury served as an
 INVISTA consultant after the asset sale, and that his involvement in the communications at issue
 related to his role as an INVISTA employee taking direction from INVISTA counsel. (D.l. 191
 at 13-15) In light of this response, M&G appears to have withdrawn its argument in this regard;
 in its reply brief, M&G went on to assume for the sake of argument that Dr. Scantlebury
 "qualifies as a 'privileged person' due to his consulting agreement with Invista[,]" but contended
 that because the common interest doctrine did not apply here, once Dr. Scantlebury
 communicated with Auriga employees, any privilege was lost. (D.I. 204 at 6-7)

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        Here, given his past and present roles as liaison between Plaintiff corporations and

 counsel, and his role as a consultant to INVISTA, Dr. Scantlebury can qualify as a privileged

 person, and therefore the communications in which he is involved may be privileged (depending

 upon the further circumstances of each document, to be analyzed below). See High Point SARL,

 2012 WL 234024, at *14 (finding communications prepared or transmitted by non-attorney

 employees who "were members of the IP Law Group, were involved in the evaluation of the

 patents-in-suit and litigation opportunities, and were working at the direction of Avaya attorneys"

 to be protected from disclosure by the attorney-client privilege).

        Furthermore, Plaintiffs have asserted that many of the Scantlebury-related documents are

 protected by the work product doctrine (rather than the attorney-client privilege). "It is the

 settled law of this Circuit that work product protection extends to documents prepared by non-

 attorneys acting at an attorney's request." Willemijn Houdstermaatschaapij BV v. Apollo

 Computer Inc., 707 F. Supp. 1429, 1444 (D. Del. 1989). 9 Therefore, despite Dr. Scantlebury's


        9
                M&G cites to Thomas Organ Co. v. Jadranska Slobodna Plovidba, 54 F.R.D. 367
 (N.D. Ill. 1972) for the proposition that "the absence of an attorney's participation in a
 document's creation gives rise to a conclusive presumption that the document was created in the
 ordinary course of business and not in anticipation of litigation." (D.I. 171 at 6) However, this
 statement glosses over a key portion of what the Thomas Organ Court actually held:

        [T]he Court ... conclude[ s] that any report or statement made by or to a
        party's agent (other than to an attorney acting in the role of counsellor),
        which has not been requested by nor prepared for an attorney nor which
        otherwise reflects the employment of an attorney's legal expertise must be
        conclusively presumed to have been made in the ordinary course of
        business and thus not within the purview of the [work product doctrine].

 Thomas Organ, 54 F.R.D. at 372 (emphasis added). Thus, the holding of Thomas Organ is in
 line with this Court's statement in Willemijn Houdstermaatschaapij BV-that non-attorneys may
 be involved in preparing work product, so long as they are acting under the direction of an
 attorney.

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 status as a non-attorney, communications in which he is involved may also be work product-

 protected, depending on the individual circumstances of each document.

        D.      Documents at Issue 10

        With the above guidelines in mind, the Court now turns to the documents at issue.

                1.     Documents that INVIST A Asserts Are Protected by the Attorney-
                       Client Privilege and Common Interest Doctrine

                       a.     PL009, PL057 and PLOSS

        These documents contain e-mail correspondence dated March 11, 2011 and March 16,

 2011 in which Craig Sterner, ChiefPatent Counsel for INVISTA, furnished an INVISTA

 employee, Torsten Schmidt,

                                                                                               (D.I.

 191 at 15-16) Mr. Schmidt forwarded the letter to Dr. Scantlebury and Klaus Schweitzer,

 INVISTA's counsel in the EPO proceeding,

                        (Id. at 16) In the final e-mail of the thread, Dr. Scantlebury




                                                          (Id. at 16) Plaintiffs assert, pursuant to

 a Declaration by Dr. Scantlebury, only that the communications "reflect[] legal advice" sought

 from INVISTA attorneys and "reflect a shared legal interest between INVISTA and Auriga

 involving potential patent litigation between M&G and INVISTA's customers." (D.I. 192, ex. L




        10
                The documents at issue can be found at D.I. 171, ex. E ("Challenged
 Documents").

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        The difficulty with INVISTA's privilege claims regarding these documents is that even

 assuming these e-mails are otherwise protected by the attorney-client privilege, INVISTA has not

 met its burden in demonstrating the applicability of the common interest doctrine to the

 documents. The Court has found that INVISTA and Auriga indeed share a common legal

 interest in maintaining strong, valid and enforceable patents covered by the IPLA (an argument

 that Plaintiffs did make repeatedly in their answering brief). However, Plaintiffs have not

 sufficiently asserted how, under the law, they have had an identical (or at least substantially

 similar) legal interest in "potential patent litigation between M&G and INVISTA's customers"

 regarding M&G's patents. As indicated above, it was their burden to do so-·to make that claim

 and support it with sufficient facts, argument and/or legal authority. MobileMedia Ideas, 890 F.

 Supp. 2d at 515.

        Therefore, the Court cannot conclude that INVISTA has met its burden to establish the

 applicability of the common interest doctrine to these documents. Accordingly, the Court

 GRANTS M&G's motion with respect to PL009, PL057 and PL058.

                        b.      PL105



        11
                  Other than in this one citation to Dr. Scantlebury's Declaration, Plaintiffs do not
 otherwise reference this type of "common interest" in their answering brief. Instead, throughout
 their brief, Plaintiffs otherwise reference a different type of asserted common legal interest. (See,
 e.g., D.I. 191 at 1 ("INVISTA and Auriga have a common interest in enforcing and upholding the
 validity ofthe patents in suit and their foreign counterparts"); id. at 7 (defining their common
 legal interest as being "in the prosecution and enforcement of the '159, '216, and '930 patents");
 id. at 11 n.1 0 ("Here, it is undisputed that INVISTA and Auriga have identical legal interests in
 enforcing and upholding the validity of the patents in suit."); id. at 11 ("Here, there is no dispute
 that INVISTA and Auriga possess a common interest in enforcing the [patents-in-suit] against
 infringers like M&G and upholding the patents' validity."))

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        This pre-sale document was created on March 3, 2003

                                            by Dr. Leo Liu, one of the inventors of the patents-in-

 suit. (D.I. 191 at 16-17) This document was sent to Dr. Scantlebury (when he worked at KoSa,

 INVISTA's predecessor) along with other documents comprising the                                (D.I.

 192, ex. L at~ 27) Dr. Scantlebury then used this document to assist the IP legal department in

                                                                     (Jd.)

        M&G argues that this pre-sale document should be disclosed because it was transferred to

 Auriga as part of the asset sale, and therefore INVISTA either transferred its privilege to Auriga,

 or waived its privilege in the document upon transfer to Auriga. (D.I. 204 at 12) As explained

 above, however, the Court has not found that INVISTA transferred its right to assert the common

 interest doctrine regarding pre-sale documents. Nor did it waive its right to do so by providing

 the document to Auriga, so long as the communication is subject to the doctrine.

        In a previous discovery dispute between the parties, the Court ruled that INVISTA

 invention records, which were sent to the IP Legal department, logged into a database, and then

 forwarded to Dr. Scantlebury to discuss with a patent attorney, were protected by the attorney-

 client privilege. (D.I. 141 at 25-35 (citing In re Spalding Sports Worldwide, Inc., 203 F.3d 800,

 805 (Fed. Cir. 2000)) (holding that "an invention record constitutes a privileged communication,

 as long as it is provided to an attorney for the purpose of securing primarily legal opinion, or

 legal services, or assistance in a legal proceeding") (internal quotation marks and citations

 omitted)) 12 When Dr. Scantlebury worked at KoSA, the protocol regarding such documents was


        12
                 The Federal Circuit has held that the issue of whether an invention record is
 protected by the attorney-client privilege clearly implicates substantive patent law, as such a
 record relates to an invention submitted for consideration for possible patent protection, and

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 the same, (D.I. 192, ex. L at '1!27), and this document is similarly protected by the privilege.

          This privileged document, created by an inventor

                                                       was clearly transferred by INVISTA to

 Auriga to further their common legal interest in maintaining a strong, valid and enforceable '159

 Patent

             There is no indication that the privilege has been waived as to this document; in order

 for this to be accomplished, all members of the common interest community must consent to the

 waiver. In re Imperial Corp., 179 F.R.D. at 289; Killebrew, 1997 WL 208140, at *2. And the

 communication, although itself created by a non-attorney, was transferred from INVISTA to

 Auriga as part of the asset sale, (D.I. 204 at 12) and therefore was clearly shared with Auriga at

 the behest of attorneys from both sides who were involved in the deal. (See D.I. 192, ex. J at 'II

 2.9(a) (for a period of one year following the effective date of the IPLA, requiring, upon Auriga's

 request, INVISTA to "make available to [Auriga], documents and materials embodying the

 Licensed Rights [including the patent applications that issued as the patents-in-suit]"))

 Accordingly, the Court DENIES M&G's motion with respect to PL105.

                         c.      PL107, PL108 and PL109

          These pre-sale documents, transferred to Auriga pursuant to the asset sale, contain e-mail

 communications regarding

                         (D.I. 191 at 17),                                         (see, e.g., D.I. 257

 at 4). PL107 is an e-mail containing




 therefore is unique to patent law. In re Spalding, 203 F.3d at 804.

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                                                                  PL108 contains e-mails that appear

 to be from then-INVISTA employees concerning

                          PL109 contains an e-mail from an attorney at Keller & Heckman

 providing legal advice to then-INVISTA employees, as well as e-mails from Auriga employees

 following the asset sale regarding that advice.

          As with other pre-sale documents, M&G argues that these communications should be

 disclosed because they were transferred to Auriga as part of the asset sale. (D.I. 204 at 12-13)

 As explained above, however, INVISTA did not transfer its right to assert the common interest

 doctrine regarding such documents. Nor did it waive its privilege in the documents, so long as

 the communications further Plaintiffs' common interest.

          On that latter score, Plaintiffs' answering brief does not say much about how the

 communications further that common legal interest. However, in light of the fact that the

 communications relate to legal advice about the product covered by the patents-in-suit, and that

 they were transferred as part ofthe asset sale that included a grant of rights in the patents-in-suit,

 there is just enough information in the record for the Court to infer that they sufficiently relate to

 Plaintiffs' common legal interest in the patents-in-suit articulated above. There is no indication

 that the privilege has been waived as to these documents. Although M&G calls out PL109 as

 containing                                                                              (D.I. 204 at

 12), thee-mails                                                         and are therefore protected,

 (D.I. 191 at 17-18). The Court thus DENIES M&G's motion with respect to PL107, PL108 and

 PL109.

                         d.     PL118


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         This pre-sale document contains e-mails between Dr. Scantlebury and a then-INVISTA

 employee

                                                                           Auriga has withdrawn

 its claim of privilege for this document, (D.I. 192, ex. Gat 3), while INVISTA maintains that it is

 protected by the common interest doctrine and attorney-client privilege (id. at ex. H). As

 explained above, INVISTA did not transfer its right to assert the common interest doctrine

 regarding pre-sale documents. Nor did it waive its right to do so by providing this document to

 Auriga, so long as the communication properly invokes the common interest doctrine.

         As both Plaintiffs and M&G point out, however, Auriga did not acquire any rights to the

 EP '630 Patent or other European counterpart patents pursuant to the asset sale. (D.I. 191 at 6

 n.7; D.I. 204 at 3, 7)

                                      As previously noted, Plaintiffs repeatedly defined the nature

 of their common legal interest as being "in the prosecution and enforcement of the '159, '216, and

 '930 patents." (D.I. 191 at 7; see also id. at 11 n.10 ("Here, it is undisputed that INVISTA and

 Auriga have identical legal interests in enforcing and upholding the validity of the patents in

 suit.") (emphasis added)) Indeed, the Common Interest Agreement between Plaintiffs states




                                                                                                   The

 Introduction section ofPlaintiff's answering brief does once assert that "INVISTA and Auriga

 have a common interest in enforcing and upholding the validity of the patents in suit and their

 foreign counterparts." (D .I. 191 at 1 (emphasis added)) However, Plaintiffs do not further


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 elaborate as to the nature of Auriga's common legal interest in a foreign patent or proceedings

 relating to that patent-a patent in which Auriga holds no rights.

        On this record, the Court cannot find the common interest doctrine applicable to this

 document. As the doctrine operates to exclude communications from discovery, courts must

 narrowly and cautiously apply it. Allied Irish Banks, P.L.C. v. Bank ofAm., N.A., 252 F.R.D.

 163, 171 (S.D.N.Y. 2008) (citation omitted); Ferko v. Nat'l Ass'nfor Stock Car Auto Racing,

 Inc., 219 F.R.D. 396,402 (E.D. Tex. 2003) (citation omitted). There maybe an argument that an

 exclusive licensor and a licensee to a patent have an identical (or at least substantially similar)

 legal interest in the soundness of foreign counterpart to that patent in which the licensee holds no

 rights, or that the content of particular communications relating to a foreign counterpart patent

 can be said to further Plaintiffs' common interest in the patents-in-suit. However, such an

 argument would need to be fully set out by Plaintiffs. Cf In re Regents, 101 F.3d at 1390

 (finding that exclusive licensee had common interest in U.S. patents and foreign counterpart

 patents, but where license extended to both types of patents); Johnson Matthey, Inc. v. Research

 Corp., No. 01CIV.8115MBMFM, 2002 WL 1728566, at *6 (S.D.N.Y. July 24, 2002)

 (concluding that plaintiff did not have common legal interest in outcome of foreign proceeding in

 which its legal rights were not at stake). It was Plaintiffs' burden to make that argument to the

 Court along with factual and legal support. Here, the Court cannot find that Plaintiffs' single

 conclusory statement in the Introduction of their brief-without any supporting argument, case

 law, or facts proffered in support of the statement-is sufficient to meet this burden.

        In light ofthis, the Court GRANTS M&G's motion with respect to PL118.

                2.      Documents that Auriga Asserts Are Protected by the Attorney-Client
                        Privilege

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                         a.     PL139, PL177, PL178, PL180 and PL181

        These documents, five versions of one e-mail thread, make up five of the seven

 challenged documents on Auriga's privilege log. (See D.I. 192, ex. G) Plaintiffs contend that

                         ofthe March 27, 2012 e-mail are the only portion of these

 communications over which privilege is asserted. (D.I. 192, ex. Nat~~ 7-8) Dr. Scantlebury

 affirms that



         he states that he thereafter passed it along to Frank Embs, the author ofthe e-mail (who in

 tum, in the various documents, forwards it on to other Auriga employees). (Id. at~ 7)

        Although there are no attorneys listed on the e-mail chain, M&G's contention that thee-

 mails "do not appear to contain any reference to counsel or legal advice," (D.I. 204 at 13), is still

 puzzling, as on their



                         And, as discussed above, a communication that relays legal advice may

 still be privileged, even if it does not directly include an attorney. See Shire Dev. Inc., 2012 WL

 524 7315, at *3. In light of Dr. Scantlebury' s Declaration, and the content of the bullet points, the

 Court finds that those portions of the March 27, 2012 e-mail from Mr. Embs contained in these

 e-mail threads are protected by the attorney-client privilege. Therefore, it DENIES M&G's

 motion with respect to PL139, PL177, PL178, PL180 and PL181.

                         b.     PL189 and PL190

        These documents were

                                                                                        (D .I. 191 at


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 17; D.I. 192, ex. N. at~ 9) The documents were drafted by certain inventors of the patents-in-

 suit, and then sent to Shell Huang, a co-inventor and manager, and ultimately to Dr. Scantlebury.

 Dr. Scantlebury then used these documents

                                                           (D.I. 192, ex. N. at~ 9) PL189 appears

 to be the same document as PL1 05, which is discussed above.

        M&G argues that these documents must be disclosed for two reasons. First, M&G argues

 that

             and that such information is not privileged. (D.I. 204 at 13) Second, M&G asserts that

 these documents were transferred to Auriga as part of the asset sale, and that if the privileges

 associated with these documents were not transferred, then the privileges were waived. (Id. at

 14)

        In support of its first argument, M&G cites to Hercules, Inc. v. Exxon Corp., 434 F. Supp.

 136 (D. Del. 1977) for the proposition that "[t]he attorney-client privilege does not protect

 technical information such as the results of research, tests, and experiments communicated to the

 attorney, not calling for a legal opinion or interpretation, but meant primarily for aid in

 completing a patent application." (D.I. 204 at 13-14 (quoting Hercules, 434 F. Supp. at 147))

 However, M&G fails to consider the holding by the Federal Circuit in In re Spalding Sports

 Worldwide, Inc., 203 F.3d 800 (Fed. Cir. 2000), relating to invention records that contain

 technical information. 13 The In re Spalding Court held that invention records that were

 submitted by the inventors to the corporation's legal department, for the purpose of obtaining



        13
               As explained above, supra note 12, this is an issue unique to patent law. In re
 Spalding, 203 F.3d at 804.

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 legal advice or assistance in a legal proceeding, were protected by the attorney-client privilege,

 despite their inclusion of technical information, "because requests for legal advice on

 patentability or for legal services in preparing a patent application necessarily require the

 evaluation oftechnical information[.]" Id. at 805-06; see also Karl Storz Endoscopy-Am., Inc. v.

 Stryker Corp., No. C09-355 VRW, 2010 WL 727220, at *2 (N.D. Cal. Mar. 1, 2010) (noting that

 In re Spalding "dispelled the view then held by many courts that purely technical information

 communicated to an attorney was not privileged"). Even if invention records do not expressly

 request legal advice, they are still privileged so long as "the overall tenor of the document

 indicates that it is a request for legal advice or services." In re Spalding, 203 F.3d at 806.

 Because these documents were sent to Dr. Scantlebury                                   , and were

 then utilized by him

                         the Court finds that they fall into the scope of protected records established

 by In re Spalding.

        As to the second argument raised by M&G, the Court can clearly find that the transfer of

 these documents furthered Plaintiffs' common legal interest in maintaining valid and enforceable

 patents-in-suit, in that they contain information regarding

                        The Court has found that there is no indication that the privilege has been

 waived. And, as noted above, the context of the submission of this document to Auriga indicates

 that it was done at the behest of attorneys for both INVISTA and Auriga, subsequent to the asset

 sale. The Court thus DENIES M&G's motion with respect to PL189 and PL190.

                3.       Documents that INVISTA Asserts Are Protected by the Work Product
                         and Common Interest Doctrines



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                       a.     PL006, PLOtS, PL019, PL023, PL024, PL031-37, PL040,
                              PL043, PL045, PL051, PL053, PL121-124, PL126-128, PL132,
                              PL134, PL135, PL137, PL145, PL147, PL157, PL158, PL160,
                              PL161, PL163, PL165, PL172 and PL173

       These documents contain communications between Dr. Scantlebury and Auriga

employees and



                                                       Although Auriga has withdrawn its claim

of privilege for these documents, (D.I. 192, ex. Gat 3), INVISTA maintains that they are

protected by the common interest and work product doctrines (id. at ex. H).

       However, for the same reasons as set out in Section III.D.1.d above, Plaintiffs have failed

to satisfy their burden of proving applicability of the common interest doctrine to documents

shared with Auriga employees



                Therefore, the Court GRANTS M&G's motion with respect to PL006, PL015,

PL019, PL023, PL024, PL031-37, PL040, PL043, PL045, PL051, PL053, PL121-124, PL126-

128, PL132, PL134, PL135, PL137, PL145, PL147, PL157, PL158, PL160, PL161, PL163,

PL165, PL172 and PL173. 14


       14
                The Court briefly addresses another ofM&G's arguments as to certain ofthese
documents-that because the documents and INVISTA's privilege log does not identify an
associated attorney, the documents cannot be protected from disclosure. (D.I. 171 at 7-8) As
discussed above, however, the work product doctrine protects communications prepared by non-
attorneys in anticipation of litigation. Fed. R. Civ. P. 26(b)(3)(A); see also In re Cendant Corp.
Sec. Litig., 343 F.3d 658, 666 (3d Cir. 2003) (noting that "the work product doctrine extends to
materials compiled by a non-attorney, who, as the 'agent' of a party or a party's attorney, assists
the attorney in trial preparation") (internal quotation marks and citation omitted). Dr.
Scantlebury' s Declaration makes clear that these communications


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                       b.      PL012, PL013, PL016 and PL084

       These documents contain e-mail communications between Dr. Scantlebury and Auriga

employees stemming from a request by INVISTA's in-house counsel

                                       (D .I. 191 at 19; D .I. 192, ex. L at ,-r 11) Despite M&G' s

argument to the contrary (D.I. 204 at 8), as explained above, Plaintiffs have a common legal

interest in the patents-in-suit, and this communication furthers their common legal interest in

maintaining valid and enforceable patents in this litigation.

       There is no indication that the privilege has been waived as to these documents. And the

communications, although between non-attorneys, were prepared on behalf of an attorney for

INVISTA. Accordingly, the Court DENIES M&G's motion with respect to PL012, PL013,

PL016 and PL084.

                       c.      PL146, PL148, PL166 and PL174

       These documents

                               Because Plaintiffs, for the reasons set out in Section III.D .1.d, have

failed to satisfy their burden of proving applicability of the common interest doctrine to

documents                                                                       the Court GRANTS

M&G's motion with respect to PL146, PL148, PL166 and PL174. 15




                               Accordingly, the Court does not give weight to this particular
argument.
        IS
               M&G also argues that these documents are not privileged
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                       d.      PL044

        This pre-sale document was created by a then-INVISTA employee, at the request of

INVISTA's legal department,                                                               (D.I. 191

 at 20; D.I. 192, ex. L at '1\19) However, because the nature of patent prosecution involves a non-

 adversarial, ex parte proceeding, work performed at the request of an attorney to prosecute a

patent application does not, as a "blanket rule," fall within the scope of the work product

doctrine. Hercules, 434 F. Supp. at 151-52. Instead, such work product must be examined on a

 case-by-case basis, to determine whether the record reflects concerns more relevant to future

litigation than the ongoing prosecution. Id.; see also Accenture Global Servs. GMBH v.

 Guidewire Software, Inc., Civ. No. 07-826-SLR, 2009 WL 2253577, at *1 (D. Del. July 29,

 2009); In re Gabapentin Patent Litig., 214 F.R.D. 178, 184-85 (D.N.J. 2003) (noting that

 "documents that are routinely generated in connection with a patent application are not protected

 by the work product doctrine simply because an issued patent may give rise to an infringement

 action" but that "documents pertaining to the patent application process which were also

 prepared because of actual or anticipated litigation may be protected by the work product

 doctrine") (internal quotation marks and citations omitted).

        Because this document was prepared for use in prosecuting the '159 Patent, and there is

no indication (or argument) put forward as to why its preparation can be particularly said to have

related to the anticipation oflitigation, the Court finds INVISTA has not met its burden to

 demonstrate that the work product doctrine is applicable to this document. See Info-Hold, Inc., v.




                                                                 the Court does not give weight to
this particular argument.

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Trusonic, Inc., No.1 :06cv543, 2008 WL 2949399, at *4 (S.D. Ohio July 30, 2008). The Court

thus GRANTS M&G's motion with respect to PL044.

                        e.      PL059 and PL130

        These documents contain communications between Dr. Scantlebury and an Auriga

 employee

                   (D.I. 191 at 21; D.I. 192, ex. L at~ 20) INVISTA contends that

                                                       (D.I. 191 at 21 n.15) M&G's reply does not

 address this point, (see D.I. 204 at 10), and because M&G has not made the relevance of these

 documents clear, the Court DENIES M&G's motion with respect to PL059 and PL130.

                        f.      PL061, PL143, PL162 and PL171

        These documents contain communications between Auriga employees with a copy to Dr.

 Scantlebury relating to

                                                                       Because, for the reasons set

 forth in Section III.D .l.d, Plaintiffs have failed to satisfy their burden of establishing a common

 interest regarding such documents                                  , the Court GRANTS M&G's

 motion with respect to PL061, PL143, PL162 and PL171.

                           g.   PL065, PL066, PL093-PL095 and PLlOO

        PL065, PL066, PL094, PL095 and PL100 were created by Dr. Scantlebury and contain



 PL093 was created by an INVISTA employee and relates to



                                Because, for the reasons set forth in Section IILD .1.d, Plaintiffs


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have failed to satisfy their burden of establishing a common interest regarding documents

                          the Court GRANTS M&G's motion with respect to PL065, PL066,

PL093-PL095 and PL1 00.

                         h.    PL119

       This document, created by Dr. Scantlebury,

                               (D.I. 191 at 21-22; D.I. 192, ex. L at ,-r 29) INVISTA contends that

                                                                 (D.I. 192, ex. L at ,-r 29) M&G's

reply does not address this point, (see D.I. 204 at 13), and because M&G has not made the

relevance ofthis document clear, the Court DENIES M&G's motion with respect to PL119.

       E.      M&G's Request for Reimbursement of its Attorney's Fees and Expenses

       M&G has requested, pursuant to Federal Rule of Civil Procedure 37(a)(5),

reimbursement of its attorney's fees and expenses in connection with this motion. However,

M&G's motion is only granted-in-part, and even in those instances, the decision was less about

the lack of clear merit behind Plaintiffs' argument and more about its failure to carry its burden

to put forward that argument. In such a circumstance, the Court declines to find that

reimbursement is warranted. See Penn Mut. Life Ins. Co. v. Rodney Reed 2006 Ins. Trust, Civil

Action No. 09-CV-0663 (JCJ), 2011 WL 1636949, at *6 n.5 (D. Del. Apr. 29, 2011) (denying

similar request where motion was granted-in-part and denied-in-part); A&B Ingredients, Inc. v.

Hartford Fire Ins. Co., Civil Action No. 08-6264 (SRC) (MAS), 2010 WL 335616, at *8 (D.N.J.

Jan. 29, 2010) (same).

IV.    CONCLUSION

       For the reasons outlined above, it is hereby ORDERED that M&G's motion to compel


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the requested discovery is GRANTED-IN-PART.

       Because this Memorandum Order may contain confidential information, it has been

released under seal, pending review by the parties to allow them to submit a single, jointly

proposed, redacted version (if necessary) of the Memorandum Order. Any such redacted version

shall be submitted no later than July 3, 2013 for review by the Court. The Court will

subsequently issue a publicly-available version of its Memorandum Order.




Dated: June 25, 2013
                                                     Christopher J. Burke
                                                     UNITED STATES MAGISTRATE JUDGE




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